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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

      UBIQUITI NETWORKS, INC.,


                                Plaintiff,

                           v.
                                                          Civil Action No.: 1:18-cv-05369
      CAMBIUM NETWORKS, INC.;
      CAMBIUM NETWORKS, LTD.;
                                                          JURY TRIAL DEMANDED
      BLIP NETWORKS, LLC;
      WINNCOM TECHNOLOGIES, INC.;
      SAKID AHMED; and DMITRY
      MOISEEV.

                                Defendants.


 UNOPPOSED MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL
             FOR PLAINTIFF UBIQUITI NETWORKS, INC.

        By and through their current counsel and new counsel, Plaintiff Ubiquiti Networks, Inc.

moves this Court for leave to withdraw the appearances of Elizabeth B. Herrington, Robert C.

Bertin, Mark L. Krotosky and Amy M. Dudash of Morgan, Lewis & Bockius and to substitute Erik

J. Ives, Jason J. Keener and David E. Koropp of Fox Swibel, LLP as counsel of record pursuant to

Local Rule 83.17. In support of this Motion, Plaintiff, by and through counsel, states as follows:

        1.      Plaintiff retained Erik J. Ives, Jason J. Keener and David E. Koropp of Fox Swibel,

LLP, 200 W. Madison Street Suite 3000 Chicago, IL 60606, to represent it in this case.

        2.      Mr. Ives, Mr. Keener and Mr. Koropp filed Notices of Appearances on April 10,

2019, are admitted to practice before this Court and are members in good standing of the Bar of

the State of Illinois.
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       3.      Elizabeth B. Herrington, Robert C. Bertin, Mark L. Krotosky and Amy M. Dudash,

attorneys at various offices of Morgan Lewis & Bockius, LLP, including Ms. Herrington’s office

at 77 West Wacker Drive, Chicago, IL 60601, have been counsel of record for Ubiquiti.

       4.      Granting this Motion will not prejudice any party or cause undue delay as the Fox

Swibel lawyers have had time to come up to speed on the litigation, production of ESI pursuant to

Mandatory Disclosures has been stayed since December 18, 2018 [Dkt.47] and the parties have

not undertaken separate discovery pending further developments in the case.

       5.      Counsel of record and new counsel for Plaintiff have conferred with opposing

counsel, and opposing counsel has indicated it does not object to the substitution of counsel here.



       WHEREFORE, Plaintiff respectfully requests that the Court grant the foregoing motion

for withdrawal and substitution of counsel.




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Dated: April 30, 2019                   Respectfully submitted,

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                                        /s/ Erik J. Ives
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                                        Attorneys for Plaintiff Ubiquiti Networks, Inc.

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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on April 30, 2019, he/she caused the
foregoing document to be electronically filed with the Clerk of the United States District Court for
the Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is
also served upon counsel for all parties of record.



                                                     /s/Elizabeth B. Herrington




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